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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                                    PLAINTIFF

v.                                      NO. 4:08CR00054-04 JLH

STERLING OMAR PLATT                                                                      DEFENDANT

                                                ORDER

        Sterling Omar Platt has filed a motion for early termination of his probation. The statute

provides that, after considering the applicable factors in 18 U.S.C. § 3553(a), the Court may

terminate a term of probation in a felony case any time after one year, if the Court is satisfied that the

action is warranted by the conduct of the defendant and the interest of justice. 18 U.S.C. § 3564(c).

In considering the relevant factors under section 3553(a) and the seriousness of the offense, the Court

does not believe that early termination of Platt’s probation is in the interest of justice. The motion

is therefore denied. Documents #389 and #390.

        IT IS SO ORDERED this 24th day of May, 2013.




                                                         J. LEON HOLMES
                                                         UNITED STATES DISTRICT JUDGE
